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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

MM STEEL, LP, §

§

Plaintiff, §

§

v. §

§

RELIANCE STEEL & ALUMINUM CO., §
CHAPEL STEEL CORP., AMERICAN § CASE NO. 4:12-CV-01227

ALLOY STEEL, INC., ARTHUR J. MOORE, §
JSW STEEL (USA) INC., & NUCOR CORP., §

§
Defendants. §

RELEASE OF JUDGMENT AS TO ONLY RELIANCE STEEL AND ALUMINUM CO.
AND CHAPEL STEEL CORP.

Plaintiff MM Steel, LP (“MM”) files this Release of Judgment as to Defendants Reliance

Steel & Aluminum Co. (“Reliance”) and Chapel Steel Corp. (“Chapel”).

BACKGROUND

1. On May 27, 2014, this Court entered Final Judgment (the “Judgment”) in favor of
Plaintiff MM Steel, LP (“MM”). [Dkt. 632]. The Judgment was entered against—and imposed
joint and several liability on—the following Defendants: Reliance, Chapel, JSW Steel (USA)
Inc., Nucor Corp., Arthur J. Moore, and American Alloy Steel, Inc. Jd.

2. On October 17, 2014, Reliance, Chapel, and MM reached a settlement resolving
MM’s claims against Reliance and Chapel without any admission of liability.

3. Considering this settlement, MM has agreed that it will (a) release the Judgment
against Reliance and Chapel and (b) not attempt to execute on the Judgment against Reliance or

Chapel.
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RELEASE
4. MM presently, generally, fully, completely, finally and forever, releases, acquits
and discharges Reliance and Chapel from the Judgment.
5. MM covenants and agrees that it shall not seek to execute on the Judgment as to
Reliance or Chapel.

6. This release and covenant is expressly limited to Reliance and Chapel. MM does not in
any way release any other person or entity, including but not limited to, Nucor Corporation and JSW

Steel (USA), Inc.
7. MM agrees that Reliance and/or Chapel may file this Release of Judgment in any

public records that Reliance and Chapel may deem appropriate.
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Dated: October 2 D-: 2014.

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Respectfully submitted,

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CERTIFICATE OF FILING AND SERVICE
I certify that on October 73. 2014, the foregoing document was electronically

transmitted to the Clerk of Court“using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to all registered

counsel of record.
fu: [

Mo Taherzadeh

